        Case 2:20-cv-01926-MMB Document 253 Filed 02/13/23 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LASHEENA SIPP-LIPSCOMB, et al.                  CIVIL ACTION

                  v.                             NO. 20-1926

 EINSTEIN PHYSICIANS PENNYPACK                   DATE OF NOTICE: February 13, 2023
 PEDIATRICS, et al.

                          AMENDED NOTICE (TIME CHANGE)

       Please be advised that the FINAL PRETRIAL TELEPHONE CONFERENCE will be

RESCHEDULED to TUESDAY, FEBRUARY 21, 2023 AT 11:45 A.M. with the Honorable

Michael M. Baylson. Counsel for Plaintiff will initiate the telephone conference and when all

counsel are on the line, call Chambers at 267-299-7520.



                                                   /s/ Amanda Frazier
                                                   ___________________________
                                                   Amanda Frazier
                                                   Deputy Clerk to Judge Baylson
                                                   267-299-7520
